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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

CELESTINA SALLY DURAN, Individually
and as Personal Representative of the
ESTATE OF FIDENCIO DURAN; and
ROBERT DURAN,

               Plaintiffs,

v.                                                          Civil No. 1:18-cv- 01062-MV-LF

UNITED TACTICAL SYSTEMS, LLC d/b/a
PEPPERBALL; ADVANCED TACTICAL ORDNANCE
SYSTEMS, LLC d/b/a PEPPERBALL;
and PERFECT CIRCLE PROJECTILES, LLC,

               Defendants.

                         NOTICE OF COMPLETION OF BRIEFING

        Defendants Advanced Tactical Ordnance Systems, LLC, Perfect Circle Projectiles,

LLC, and United Tactical Systes, LLC, by and through counsel Brownstein Hyatt Farber

Schreck, LLP (Eric R. Burris) and Rodey, Dickason, Sloan, Akin & Robb, PA (Jeffrey M.

Croadsdell and Patrick A. Coronel) hereby give notice that briefing is complete on their Joint

Motion to Exclude the Expert Testimony of Charles Mesloh [Doc. 125]. The following

pleadings have been filed:

        1.     Defendants Joint Motion to Exclude Expert Testimony of Charles Mesloh [Doc.

125] filed on October 29, 2020.

        2.     Omnibus Response in Opposition to Defendants’ Joint Motion to Exclude

Expert Testimony of Seth Stoughton and Charles Mesloh [Doc. 131] filed on November 20,

2020.

        3.     Reply in Support of Joint Motion to Exclude Expert Testimony of

Charles Mesloh [Doc. 138] filed on December 14, 2020.
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           Dated: December 14, 2020.


                                       Respectfully submitted,

                                       BROWNSTEIN HYATT FARBER SCHRECK, LLP

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                                       Attorneys for Advanced Tactical Ordnance Systems, LLC
                                       and Perfect Circle Projectiles, LLC


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                                       Attorneys for Defendant United Tactical Systems, LLC


                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on December 14, 2020, I electronically filed a true and correct
copy of the foregoing NOTICE OF COMPLETION OF BRIEFING with the Court pursuant
to CM/ECF procedure for the District of New Mexico, which will send notification of such filing
and cause the following parties to be served via electronic means, as more fully reflected on the
Notice of Electronic Filing:


                                                           /s/ Eric R. Burris
                                                           Eric R. Burris


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